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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES

Date: April 4, 2025            Time: 59 minutes                 Judge: YVONNE GONZALEZ ROGERS
Case No.: 24-cv-4722-YGR       Case Name: Musk v. Altman et al



Attorney for Plaintiff: Marc Toberoff
Attorney for Defendant OpenAI: William Frentzen, Sarah Eddy, William Savitt, and Jordan Eth
Attorney for Defendant Microsoft: Russell Cohen, Nisha Patel, and Jay Jurata

Deputy Clerk: Edwin Angelo A. Cuenco                Court Reporter: Stephen Franklin; via Zoom


                                           PROCEEDINGS

     Initial Case Management Conference – held and accessible via Zoom Webinar.

     The Court heard argument on the claims and motion to dismiss with respect to the claims and are
     taken into submission. Pretrial deadlines are set.

     Case Management and Pretrial Order to issue.
